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t 24, 2020
United States District Court Augus

Central District of California

 

 

 

 

 

 

CEN RICT OF CALIFORNIA
United States of America oy. OM) DEPUTY
Plaintiff
Case Number
CR-04-1189(A)-CAS
Vv.

Gabriel Gonzalez
Defendant, Pro Se

Supplement to Defendant's Reply Motion

Gabriel Gonzalez asks this honorable court to accept this supplement meant
to address, in part, the declaration of Associate Warden Dr. Hall which was previously
submitted by the government but*which was only recently served upon the defendant.
This supplement is made to address important points and facts relevant to the issues

in the above matter.

I. The government's "Declaration of Dr. Hall'-exhibit favors granting relief.

The 5/12/20 Declaration of Dr. Hall-exhibit submitted in the case of United
States v. Gibson 4:12-CR-600 S.D. Tex. (5th Cir.) sets forth a discussion of the
dangerous COVID-19 condition in the federal prison system, the steps which authorize
the BOP to place inmates on home confinement (distinct from compassionate release) ,
and the need to protect all prisoners from contracting the Coronavirus.

Associate Warden Hall states that a surge at the [FCI Forrest City] site has
prompted the BOP to immediately review all inmates with risk factors for priority
home confinement consideration. (Hall declaration doc. 212 p.8, para. 3). Hall

also indicates that despite qualification for home confinement:

"The BOP will not grant home confinement to inmates when doing so
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is likely to increase their risk of contracting COVID-19. The BOP will

grant home confinement only when it has determined--based on the totality

of circumstances for each individual inmate--that transfer to home confinement
is likely not to increase the inmate's risk of contracting COVID-19."

(Id. p.9, para. 6).

Of significance is Hall's assertion that it is the "increased risk of contracting
COVID-19" that is the priority and goal of this measure. Since it is undisputed
that the (1) Coronavirus is a deadly, contagious disease, (2) for which there is
no cure, and (3) whose contagious impact is increased and exacerbated in the prisons'
communal setting without means for avoidance there can be little doubt that it is
the Coronavirus, not one's preexisting medical conditions, that is the true nature
and concern of all involved. While it is true that some medical condition(s) heighten
the dangers of contracting COVID-19, it is equally perilous to expose prisoners
to enhanced risk through environmental and situational factors which exacerbate

that risk.

The fact that FCI Forrest City is a low-security facility, with open-dorm
living quarters and communal amenities, it is apparent that FCI-FC was not meant,
nor is able, to prevent or contain such conditions as this outbreak. The dangers,
hazards, and risks at this prison serve to heighten a "likely increased risk of
contracting COVID-19."" It is only worsened by compounded exposure under these
conditions, once a prisoner has contracted the virus, that he shall remain ill due
to the overwhelming degenerative effects and morbidity of the virus or by reinfection
after the slim chance a prisoner may somehow recover on his own.

These points set the stage for Hall's assertions and show that justification
for retaining prisoners under these exposure-conducive conditions is futile at best
and criminally wreckless at worse. The BOP, by and through Hall's declarative
statement, supports this point. Any other reason or pretext which prevents or

excuses the safegarding of prisoner health and safety in this way flies in the face
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of our Constitution and laws and alters the method of confinement under the auspices
of executive legislation. This court's intercession is necessary to prevent the
impending ultimate harms because if nothing is done, the disease surely will not
abate itself.
The Gibson court, for whom Hall created this declaration, has recommended
a 2-year furlough for Gibson III and Gibson IV in lieu of granting RIS, thus demonstrating
the necessity and existence of options available to counteract the morbidity of

the virus and the rigidity of sentencing enforcement under this novel circumstance.

II. Hall's declaration is-genéral as to BOP directives but is not specific as
to Forrest City"s adoption of those directives.

Hall's declaration specifies that attention has been prioritized to FCI Oakdale,
FCI Danbury, and FCI Elkton. (Id. p.11, para. 9). Despite the fact that FCI Forrest
City has sustained infection to approximately 2/3 of its population it is clear
that the BOP has not 'move[d] with dispatch’ as Hall has indicated.

Hall indicates FCI-FC evaluates each prisoner based upon criterion unrelated
to the risks inherent at the prison, but rather which focus on factors related to
the prisoner‘s conviction and rehabilitation while in prison, such as his security
level and PATTERN score. (Id. p.13, para. 18). But Hall admits these 'priority'
factors are ‘subject to deviation...' as the ‘situation progresses.'

Hall's declaration sets forth a 'wish list' of activities and precautions
with BOP protocols and CDC guidance at FCI-FC low. (Id. pgs. 16-18). ‘These safegards,
while virtually effective and defensive from the virus, are actually tenuous and
insubstantial because they are either not followed or implemented at all, or are
activities meant to promote the CDC's study of the spread of the virus-not the
containment or treatment of its effects. (compare Id. p.17, para. 28 to p.18, para. 31).

These virtual safegards are further addressed in the attached Statement and Declaration
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(Exhibit 1); (see also Mad-Max vidéo previously submitted).

The conditions and method of imprisonment at Forrest City low remain dire.
Soon, the facility will reach full infection capacity. The BOP's misreporting of
its cumulative-infected numbers, its monthly changing of PATTERN scoring and other
criterion serve only as a moving target for which no one can discern with certainty
its formula, and its regime of nonprovisional Xray, MRI exams, or any other meaningful
tests or treatments for its infected is a lethal combination intentionally hidden
from a court's cursory review.

Dozens of courts in nearly every Circuit have found dangerous circumstances
at FCI-FC and have granted compassionate release. Even Gibson's court issued a
"Strongly Recommend[ed]' déeision to FCI-FC favoring a 24 month furlough for both
defendants under Forrest City's custodianship. (see Gibson 4:12-CR-600 S.D. Tex,
Houston Div.). This petitioner asks this court find good cause for granting him

relief based upon these facts.

TII. Relief is available under 18 U.S.C. § 3582.

The main issue brought before this honorable court is sought to modify the
method of imprisonment against this defendant and not, necessarily, the term of
imprisonment. As such, this request is made to be construed liberally under this

separate form of relief.

(a) Before the FIRST STEP ACT's amendments to § 3582, the BOP was the sole
arbiter of determining qualification for any "extraordinary and compelling" reasons,
and only the BOP could bring a motion for a reduction of sentence under § 3582(c)(1)(A).

Under the newly amended § 3582(c)(1)(A), post-FSA, the court may now thus:

"reduce the term of imprisonment (and may impose a term of probation or
supervised release with or without conditions that does not exceed the
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unserved portion of the original term of imprisonment), after considering
the factors set forth in section 3553(a) to the extent that they are
applicable, if it finds that--(i) extraordinary and compelling reasons
warrant such a reduction...and that such a reduction is consistent with
applicable policy statements issued by the sentencing commission."

This post-FSA amendment expanded the court's, as opposed to the Director of
the BOP, power to find extraordinary and compelling reasons other than, or in
combination with, the three explicitly defined reasons in the U.S. Sentencing
Guidelines manual § 1B1.13 cmt. n.1(A)(C).

In other words, defendants no longer need the blessing of the BOP to bring
such motions, and in fact, it is not necessary that the BOP may ever weigh in or
provide guidance when a § 3582(c) motion is brought by a defendant. See DeLuca
v. Lariva 586 F.App'x 239, 241 (7th Cir., 2014)("While the BOP's interpretive
program statement lists some factors the Bureau may consider in determining whether
to move for compassionate release, that list is non-exhaustive.").

Given the changes to the statute, the policy statement provision that was
previously applicable to 18 U.S.C. § 3582(c)(1)(A) no longer fits with the original
statute and thus does not comply with the Congressional mandate that the policy
statement must provide guidance on the appropriate use of sentence-modification
provisions under § 3582.

In sum, this makes clear that if the Director of the BOP were still the sole
determiner of what constitutes an extraordinary and compelling reason, the Amendment's
allowance of a defendant's own § 3582(c)(1)(A) motion for reduction of sentence
would be to no avail. In fact, such a reading would contravene the explicit purpose

of the new amendments. (United States v. Cantu 423 F.Supp. 3d 345 (2019).

(b) This court is asked to find reason to provide relief in this case because

this prison, separate and distinct from the BOP itself, has proven itself unable

to contain the virus, unable to protect those in its custody from its harmful effects,
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unwilling to administer meaningful, minimal testing and treatment for its infected
and presymptomatic prisoners, and for reasons requiring this court's intervention
to restore the original 'method' of incarceration by statute. This included confinement
under conditions free of contagious hazards whether those hazards pose immediate
or future injuries not contemplated by the legislature's original meaning of
‘imprisonment.’ But, continued imprisonment here is beyond what is useful, customary,
regular, or common and is imposing irreparable harm to its prisoners and creating
an injustice irreconcilable with the terms of the defendant's original sentence.

The objective sought by this motion accounts for the seriousness of the original
sentence without imposing a de facto life sentence. A court ordered term, up to
and including the entire term originally imposed, can and is justified under a
court-ordered term of supervised release where the ability to quarantine and receive
treatment for medical conditions can be received. Deterrence is satisfied in this
case because it is not the length of the punishment that is important in terms of
deterrent value, but the certainty of punishment. This conviction and certainty
of punishment has been met. But allowing the method to be more severe than that
which is allowable would certainly foster an affront to the goals sought in advancing
respect for our laws. The method of imprisonment must draw its meaning from the
evolving standards of decency that mark the progress of a maturing society. Otherwise,
the physical mistreatment and primitive torture inherent under further Coronavirus
exposure would certainly provoke transgressive punishment barred by the 8th Amendment

and would offend the cardinal principles for which the Constitution stands.

Conclusion

The BOP currently reports 3,861 prisoners and 318 staff have active cases
of Coronavirus. These totals, however, do not reflect the cumulative number of

infected persons from federal prisons. There are 105 BOP and private federal prisons
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and 46 halfway houses that are overrun by COVID-19. 101 inmates have died from
complication of this contagion while under BOP care. These figures demonstrate
that the virus is beyond containment by the BOP and current prison efforts to protect
inmates are inadequate and injurious.

The most current research on COVID-19 describes findings as, "We identified
a higher than expected number of people with neurological conditions such as brain
inflammation, delirium, nerve damage, and stroke. (Univ. Coll. of London Research;
also Michael Zandi of U.C.L.'s Queen Square Institute of Neurology). This research
makes clear that cardiovascular, respiratory, and neurological imaging is necessary
in the examination and treatment of the Coronavirus. (Prof. Marc Dweck, Univ. of
Edinburg Cardiologist- "Tests have shown severe dysfunction linked to even mild
virus infections." (study July 8, 2020)). No such tests are offered nor available
through the BOP.

Relief granted from this court will enable Gonzalez to obtain such necessary
care. For this reason and those stated previously, Gonzalez prays this court recognize
these harmful conditions and order RIS, or issue a recommendation to the BOP that

he be placed on home confinement or furlough in this matter.
Verification

I have read the foregoing Supplement to Defendant's Reply Motion and hereby
verify that the matters alleged herein are true, except as to matters alleged on
information and belief, and as to those, I believe them to be true and correct.
Executed at Forrest City, Arkansas on this 19th day of July, 2020.

AGS
Gabriel Gonza
Defendant, Pro Se
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Certificate of Service

I certify under the penalty of perjury that the foregoing Supplement to Defendant 's
Reply Motion was placed in the prison's internal mail system, postage pre-paid,
for service upon this court via U.S. mail on this 19th day of July, 2020 to 312
N. Spring Street Los Angeles, California 90022. Gonzalez asks this court's clerk
to provide him with a stamped and filed copy of this motion and to serve all other

interested parties by electronic notification.

AAA

Gabriel Gofrzalez
Defendant, Pro Se
